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                                    UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF NEW YORK


         UNITED STATES OF AMERICA,
                                                     Case No. 1:23-cv-00369-NRM-RML
                                  Plaintiff,

                                   -against-

     RARE BREED TRIGGERS, LLC; RARE
     BREED FIREARMS, LLC; LAWRENCE
       DEMONICO; KEVIN MAXWELL,

                                  Defendants.




          SUR-REPLY IN OPPOSITION TO THE UNITED STATES OF AMERICA’S
                    MOTION FOR A PRELIMINARY INJUNCTION




  DHILLON LAW GROUP INC.
  A CALIFORNIA PROFESSIONAL CORPORATION
  50 Park Place, Suite 1105
  Newark, NJ 07102
  David A. Warrington (pro hac vice)
  Michael A. Columbo (EDNY admission forthcoming)
  Josiah Contarino
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         This Sur-Reply addresses: (1) the technical and legal issues with the Government’s and

  ATF’s characterization of the FRT-15 as a machinegun; (2) further evidence of Defendants’ lack

  of intent to commit fraud or conspiracy; and (3) the Government’s inability to demonstrate

  irreparable harm if Defendants are allowed to continue selling FRT-15s.

  I.     The Government Is Not Likely to Succeed on the Merits Because the FRT-15 Is Not
         A Machinegun.

         The Government argues that the FRT-15 is a machine gun because “one continuous pull

  of the FRT-15 trigger allows the firearm to shoot more than one shot,” ECF No. 1, ¶ 46, and that

  the FRT-15 allows a user to “fire multiple rounds automatically by a single pull of the trigger”

  and, referring to the ATF’s classification, that “the FRT-15 . . . allows a firearm to automatically

  expel more than one shot with a single continuous pull of the trigger.” ECF No. 5 at 4, 10.

         This argument fundamentally misunderstands and obfuscates what the FRT-15 does. The

  FRT-15 does not allow a user to fire multiple rounds with a single function of the trigger. When

  using an FRT-15, the trigger must still be depressed (function) and reset (function) for every

  round fired. What the FRT-15 does is reduce the time needed to reset and depress the trigger

  (causing it to function) after the first round is fired. This is mechanically similar to every other

  semi-automatic weapon. Simply depressing the trigger once and holding it back does not result

  in multiple rounds being fired—the trigger has to move every time.

         The Government obfuscates this fact by focusing on movement of a user’s finger, rather

  than on movement of the firearm’s trigger. But Congress unambiguously mandated the latter.

  Congress defined a machinegun as a firearm that fires repeatedly with “a single function of the

  trigger,” 26 U.S.C. § 5845(b) (emphasis added), not of the user’s trigger finger. A weapon with a

  trigger that must be depressed and reset (that is, must “function”) each time it shoots a round

  does not meet that definition. The FRT-15 is not a machinegun under the statutory definition
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  because, after each round is fired, the trigger returns to a non-firing (reset) position and then

  must function again to fire another shot. In other words, one function of the trigger produces one,

  and only one, shot.

         A. The Definition of a Machinegun is Based on Trigger Function.

                 1. The Statutory Definition of Machinegun Unambiguously Refers Only to
                    Movement of the Trigger and Not Any Other Factor.

         The definition of a machinegun under both the National Firearms Act and Gun Control

  Act is simple and mechanically focused:

         The term “machinegun” means any weapon which shoots, is designed to shoot, or
         can be readily restored to shoot, automatically more than one shot, without
         manual reloading, by a single function of the trigger. The term shall also include
         the frame or receiver of any such weapon, any part designed and intended solely
         and exclusively, or combination of parts designed and intended, for use in
         converting a weapon into a machinegun, and any combination of parts from which
         a machinegun can be assembled if such parts are in the possession or under the
         control of a person.

  26 U.S.C. § 5845(b) (emphasis added); see 18 U.S.C. § 921(a)(24). The phrase “by a single

  function of the trigger” provides unambiguously that the only question to be asked under the

  statute to determine if a weapon is a machinegun is whether a single function of the trigger

  results in more than one round firing.

       The Fifth Circuit in its recent opinion Cargill v. Garland, 57 F.4th 447 (5th Cir. 2023)

  addressed this very point, holding that the ATF’s bump-stock ban, 83 Fed. Reg. 66514 (Dec. 26,

  2018), was invalid because it conflicted with § 5845(b).

       Bump-stocks function by using the recoil of a semi-automatic weapon to allow a user to

  fire the weapon faster. A skilled bump-stock user can pull the trigger once, then hold his or her

  trigger finger still while the recoil of the weapon moves the trigger back and forth, firing a new

  round each time the trigger contacts the user’s finger and is depressed. In other words, the trigger



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  moves (functions) for every round, while the user’s finger does not.

         As in this case, the ATF argued in Cargill that “a single pull of the trigger from the

  perspective of the shooter” was sufficient to classify bump-stocks as a machinegun. Id. at 459

  (citation omitted). As the Fifth Circuit held: “The problem with [ATF’s] interpretation is that it is

  based on words that do not exist in the statute. The statute uses single function of the trigger, not

  a single function of the shooter’s trigger finger.” Id. (citation and internal quotation marks

  omitted). The Navy-Marine Corps Court of Appeals reasoned similarly in holding that “‘by a

  single function’ cannot be read to mean ‘by a single pull’”:

         The best read [of the statute] implies that the shooter initiates the trigger function
         by some action, such as pulling the trigger—or it could be by just pushing a
         button—and it is the follow-on action where the trigger acts out its mechanical
         design or purpose that speaks to the “function of the trigger.” The statute does not
         say “by a single function of the trigger finger” nor does it say “by a single pull of
         the trigger in addition to external pressure from the shooter’s non-firing hand.” ....
         Had Congress wanted to use the phrase “by a single pull of the trigger” for machine
         guns, it could have. But it did not.

  United States v. Alkazahg, 81 M.J. 764, 780-81 (N-M. Ct. Crim. App. 2021) (cited by Cargill, 57

  F.4th at 460).

         The grammar of the statute’s sentence defining machinegun clearly supports this reading.

  Within the sentence, the phrase “by a single function of the trigger” modifies the manner in

  which the weapon itself shoots. See Cargill, 57 F.4th at 461 (analyzing the sentence structure and

  grammar of the statute). Notably absent from the text is any reference to the weapon’s user, his

  actions, or the actions of his trigger finger. The universe of the definition is closed, focusing only

  on the mechanisms of the weapon and the trigger itself.

         Congress could have used alternative language referring to the user’s finger if it desired.

  Indeed, within the very subsection of the same statute, Congress defined the terms “rifle” and

  “shotgun” based on the projectiles they fire “for each single pull of the trigger.” 26 U.S.C

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  § 5845I-(d); see Cargill, 57 F.4th at 461 (analyzing how this context shows the specificity of

  Congress’s intent in using “single function of the trigger.”). “[W]here the document has used one

  term in one place, and a materially different term in another, the presumption is that the different

  term denotes a different idea.” Id. (quoting Antonin Scalia & Bryan A. Garner, Reading Law:

  The Interpretation of Legal Texts 170 (2012)). Here, Congress defined machineguns solely with

  regard to whether the trigger functions once for each round that is fired. Congress chose not to

  refer to the user’s actions at all, despite doing so elsewhere within the same statute.

                 ii. The Supreme Court Has Understood “Single Function of the Trigger” to
                     Refer to only the Trigger Itself.

         In Staples v. U.S., 511 U.S. 600, 603 n.1 (1973), the Supreme Court, when faced with an

  actual machinegun, clarified that it understood a weapon firing automatically by a “single

  function of the trigger” to mean that “once its trigger is depressed, the weapon will automatically

  continue to fire until its trigger is released or the ammunition is exhausted.” (emphasis added).

  The Court did not refer to the pressure applied by the user’s finger on the trigger, or the user’s

  actions with regard to releasing the trigger, as the Government now argues. Instead, the Court

  specifically referred to the depressed state of the trigger, i.e., that the trigger had moved

  backwards and was held there (functioning only one time) while the weapon fired multiple

  rounds automatically. Similarly, the Court defined automatic fire as continuing until the trigger is

  released. The Court did not refer to the user’s actions, intent, or experience for either the

  trigger’s activation or its release. The Court’s only consideration was whether the trigger

  remained in its depressed state while multiple rounds fired automatically and whether the trigger

  was released at all between shots.




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          B. The FRT-15 Is Not a Machinegun Because It Requires a Separate Function of
             the Trigger for Each Round Fired.

          The simplest understanding of the FRT-15 is as a device that makes repeated trigger pulls

  easier and faster—but still relies on one pull and function of the trigger to fire each round. See

  Declaration of former ATF Special Agent Daniel O’Kelly ¶ 11 (attached as Exhibit A). It

  accomplishes this by resetting the trigger back to its ready condition for a subsequent pull more

  effectively than traditional triggers. Id.

          All semiautomatic guns have triggers that reset themselves after they are fired. Id. ¶ 6.

  When the user pulls the trigger to its depressed state and the weapon fires, the trigger does not

  simply stay rearward until the user takes his finger off. See id. Springs within the trigger system

  constantly act upon the trigger to push it toward its ready position. Id. A user overcomes these

  springs when he pulls the trigger back to fire the weapon, and he allows the springs to reset the

  trigger to its ready position by either reducing the pressure he applies on the trigger so that the

  springs move both the trigger and his finger back, or by taking his finger off the trigger. Id. ¶¶ 6-

  7. For any semiautomatic firearm, the user can keep his finger on the trigger and maintain

  continuous pressure on it while firing repeated rounds so long as he lightens his finger pressure

  enough between shots to allow the springs to reset the trigger. See id. ¶ 7.

          With traditional semiautomatic triggers, the user’s ability to fire a follow up shot by

  activating the trigger again is limited by his reflexes and fine motor skills, which he relies on to

  register that the firearm has fired, lighten or remove pressure on the trigger so its springs can

  reset it, and then depress the trigger again for a follow up shot. Id. ¶ 10. The only limiting factor

  preventing a user from shooting his semiautomatic rifle at the same speed as if it operated

  automatically is skill and dexterity. Id. Professional shooters can and have demonstrated the




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  ability to fire semiautomatic rifles at speeds rivaling automatic fire rates. 1

           The FRT-15’s innovation is simply that it resets the trigger to its ready position more

  forcefully than a traditional semiautomatic trigger, so the trigger is in position for the user to

  pull/depress it again causing it to function more rapidly. Id. ¶ 11. As with all other semiautomatic

  triggers, the FRT-15 trigger must function for each round fired and must reset back to its ready

  position before it can shoot again. Id. There is no other difference between the user’s operation of

  a traditional semiautomatic trigger and the FRT-15 trigger. 2 See id. ¶ 8.

           For this reason, the FRT-15 is not a machinegun under § 5845(b). The user of the FRT-15

  can only fire one round each time the trigger functions, and the trigger must reset between each

  depression. This in no way resembles the mechanical function of an automatic trigger, which

  allows the user to depress the trigger and keep it depressed (but functioning only one time) while

  the weapon automatically loads and fires round after round. As with any other semiautomatic

  trigger, one depression or action that causes a rearward function of the FRT-15 trigger results in

  one round being fired.

           C. The ATF’s Analysis Misreads the Law and Mischaracterizes the FRT-15.

           In reliance on the ATF’s analysis, the Government essentially argues for a “continuous

  finger pressure” interpretation of “a single function of the trigger.” In the Government’s

  Complaint, it refers to the FRT-15 as a machinegun because “one continuous pull of the FRT-15

  trigger allows the firearm to shoot more than one shot.” ECF No. 1, ¶ 46. In the Government’s



  1
    AR-15 5 Shots in 1 second with fastest shooter ever, Jerry Miculek (Shoot Fast!), Jerry Miculek – Pro Shooter (Jun.
  20, 2013), https://www.youtube.com/watch?v=v3gf_5MR4tE&ab_channel=JerryMiculek-ProShooter. Professional
  shooter Jerry Miculek demonstrates his ability to rapid-fire a semiautomatic AR-15 at speeds nearing automatic fire-
  rates; see also Exhibit B (Video of Jerry Miculek testing the FRT-15 and showing that he can shoot comparably with
  both a traditional semiautomatic trigger and an FRT-15 trigger).
  2
    Defendants have produced numerous videos demonstrating that the FRT-15 requires individual movements of the
  trigger rearward for each shot. See Exhibit C (Video demonstration of FRT-15 being fired in slow motion with lines
  imposed on the screen to show how both the trigger and the user’s finger must move for each shot taken).

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  motion for a preliminary injunction, it likewise states that the FRT-15 allows a user to “fire

  multiple rounds automatically by a single pull of the trigger” and that, per the ATF’s

  classification, “the FRT-15 . . . allows a firearm to automatically expel more than one shot with a

  single continuous pull of the trigger.” ECF No. 5 at 4, 10.

         To support these claims, the Government cites a declaration by ATF Special Agent Daniel

  Koneschusky (ECF No. 7). In his declaration, Agent Koneschusky states that “the FRT-15 allows

  the firearm to fire automatically, with a single constant rearward pull, until the trigger is released,

  the firearm malfunctions, or the firearm exhausts its ammunition supply.” ECF No. 7 ¶ 31.

  Koneschusky does not explain the basis for this claim in his declaration, instead he cites to the

  ATF’s July 15, 2021 technical examination of the FRT-15 (the “Report”) (excerpted report

  attached as Exhibit D). The Report’s analysis is the basis for the Government’s claim that the

  FRT-15 is a machinegun: Koneschusky relies on the Report in his declaration, and the

  Government relies on Koneschusky’s declaration in its motion for a preliminary injunction.

  Unfortunately for the Government and the ATF, the Report is fundamentally flawed and contains

  numerous inaccuracies and contradictions.

         The Report contains a technically inaccurate and misleading explanation of the FRT-15’s

  basic function:

         When the trigger is pulled (rearward pressure applied to the trigger), the hammer is
         released and strikes the firing pin, igniting the cartridge primer, and starting the
         cycle of operations. As the bolt carrier moves to the rear, the hammer is driven into
         the top of the trigger forcing it forward. The bolt carrier then strikes the locking bar
         moving, [sic] it to lock the trigger in the forward position. As the bolt carrier moves
         forward, the trigger is held in the forward position by the locking bar and the
         hammer engages the sear surface on the front of the trigger. As the bolt carrier
         continues to move forward, it strikes the rear surface of the locking bar releasing
         the trigger.

  Report at 4 (emphasis added) (citations omitted). The statement that the bolt carrier “strikes the



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  locking bar” and moves it to lock the trigger forward is incorrect. Exhibit A ¶ 13. The bolt

  carrier’s rearward movement drives the hammer into the top of the trigger, forcing it forward. Id.

  As the trigger is forced into the forward (reset) position, the locking bar pivots into place and

  mechanically locks the trigger. Id. Furthermore, the Report states that the bolt carrier strikes the

  locking bar “releasing the trigger.” Report at 4. The Report uses similar language elsewhere,

  stating that FRT-15 “utilizes [the] forward movement [of the bolt carrier] to automatically release

  the trigger and hammer, allowing the weapon to expel a second projectile without a separate pull

  of the trigger.” Id. at 5. This is completely incorrect. The bolt carrier’s “release” of the trigger

  does not cause it to move in any direction. Exhibit A ¶ 13. All that this “release” does is unlock

  the trigger so the user can function the trigger again if he chooses to. Id. All movement of the

  trigger from its reset position after it unlocks is initiated solely by the user’s finger. Id. This error

  is important because it evidences a gross and deliberate mischaracterization of the FRT-15’s

  operation and undermines the credibility of the ATF’s analysis and conclusions about the FRT-

  15.

          Dispositively, this technical description directly acknowledges that the trigger resets after

  each shot because it is forced forward as a direct consequence of the FRT-15’s design. The

  Report also acknowledges that the design requires the hammer and trigger to reset and remains

  locked between each shot. See Report at 4. Despite these acknowledgments, which mean that the

  FRT-15 requires the trigger to make separate functions for each and every round fired, the Report

  inaccurately characterizes the FRT-15 as a machinegun in the next sentences:

          If the shooter maintains constant rearward pressure to the trigger, that single
          constant pull will continue the cycle of operation and fire a subsequent projectile.
          This differs from a cycle of oeprations [sic] in a typical AR-type semiautomatic
          firearm in which a shooter must release and pull the trigger to fire a second
          projectile. As stated . . . the FRT-15 requires no such release and subsequent pull by
          the shooter to fire a second projectile. Instead, the shooter may fire a second

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          projectile merely by maintaining the initial trigger pull and allowing the self-acting
          internal mechanism to complete its automatic cycle of operation.

   Id. (citations omitted) (emphasis added).

          This paragraph reveals that the ATF’s determination that the FRT-15 is a machinegun is

   based on conflating two distinct concepts: continuous pressure on the trigger (which the FRT-15

   allows and is not regulated under § 5845(b)) and continuous pull of the trigger to its

   rearward/depressed position, which would suggest that it only functions once (which the FRT-15

   does not allow and would cause it to malfunction if achieved). Exhibit A ¶ 21.

          The Report uses verbal sleight of hand to equate mere pressure on the trigger with pulling

   the trigger to its depressed state. It does so by referring to “continuous pressure on the trigger”

   and a “continuous pull of the trigger” in a manner that would, at best, confuse a reader into

   thinking the phrases mean the trigger is actually moved rearward to its firing position and held

   there. Report at 4. (As discussed above, the statute’s definition of a machinegun depends on the

   trigger only functioning once for multiple shots.). Similarly, the Report inaccurately states that

   the shooter does not need to “release their pull of the trigger” between shots, which implies that

   the trigger is never reset to its forward position and remains pulled back while the weapon

   continues to fire. Id. In reality, the “continuous pressure” on the trigger described in the Report

   refers to the user maintaining pressure against the trigger as it resets, allowing him to depress it

   again once it is finished resetting. Exhibit A ¶ 15. Likewise, the user is able to fire multiple

   rounds without reducing rearward pressure on the trigger because the FRT-15 resets the trigger

   for him and does so forcefully enough that the pressure from his finger does not prevent the

   trigger’s forward movement. Id. ¶ 17.

          By focusing on the constant pressure the user can exert with his finger because the FRT-

   15 forces the trigger reset, the Report judges the FRT-15 by a standard that does not exist under

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   the law. The Report impresses that the FRT-15 is a machinegun because a user can initiate a

   single pull on the FRT-15 trigger and maintain that pressure to fire multiple rounds. This is

   legally wrong and obscures the primary difference between an FRT-15 and a machinegun. Under

   the text of § 5845(b), the question is neither whether the user can maintain finger pressure on the

   trigger between shots, nor how the trigger releases and resets. The question is whether a single

   function (i.e., movement or action) of the trigger results in one round firing or multiple.

   Regardless of the Report’s word games, the FRT-15 requires a separate function of the trigger for

   each round fired.

          The ATF made its deceptive language use even clearer in a more recent report on the

   FRT-15. The ATF’s Expert Report from April 27, 2023 (Exhibit E) directly conflates rearward

   pressure from the user’s finger (colloquially “pulling” the trigger) with actual movement of the

   trigger rearward: “With both an FRT-15 . . . and an M16-type machinegun . . . the shooter

   maintains a constant rearward pull of the trigger to fire subsequent shots with a single function

   (pull) of the trigger.” Exhibit E at 5. This report, like the Report previously, attempts to deceive

   the reader by failing to note the difference between movement of the trigger and pressure from

   the user’s finger, referring to both interchangeably as a “pull” despite the vital semantic and legal

   difference between the two usages.

          The rebuttals to the Report that Defendants obtained from several former ATF Special

   Agents provide further insight into the various errors made by the ATF. These include

   explanations of how the Report’s technical description of the FRT-15’s operation is deliberately

   obtuse and misleading (see Rebuttal Statement from former ATF Special Agent Luettke at 2)

   (attached as Exhibit F), how the ATF “takes liberty in blurring the lines between ‘pull,’

   ‘pressure,’ and ‘function’” to mislead the reader (see Rebuttal Statement from former ATF



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   Special Agent O’Kelly at 4) (attached as Exhibit G), and how the Report mischaracterizes the

   locking bar, which prevents the trigger from moving rearward after it resets until the hammer is

   also reset, differentiating the FRT-15 from an automatic sear trip (the part directly responsible for

   an M-16’s automatic fire) (see Rebuttal Statement from former ATF Special Agent Vasquez at 3)

   (attached as Exhibit H).

            As the ATF’s reports show, the entire basis for the Government and the ATF’s

   characterization of the FRT-15 as a machinegun is that the user can maintain continuous pressure

   on the trigger while it resets between shots. The ATF’s “continuous pressure” standard ignores

   whether the weapon fires based on repeated functions of the trigger, which is the only question to

   be answered under the text of § 5845(b). Under the statutory text, the FRT-15 is not a

   machinegun because each round fired requires a separate movement of the trigger (one function)

   and a separate reset of the trigger (a second function). Whether the trigger is reset by the user

   changing the pressure he exerts with his finger or by the hammer forcing the trigger to its

   original position is irrelevant under the statute. As demonstrated by the ATF’s own reports and

   the expert reports obtained by Defendants, it is indisputable that the FRT-15 requires a separate

   function of the trigger for each round fired and therefore cannot be a machinegun.

      II.      Defendants Lawrence DeMonico and Kevin Maxwell’s Actions
               Demonstrated Their Belief that the FRT-15 Is Legal and Did Not
               Interfere with the ATF Performing Its Job.

            Defendants Lawrence DeMonico and Kevin Maxwell believed at all times during their

   promotion and sale of the FRT-15 that it was not an illegal machinegun. This belief is evident in

   their course of conduct. Schemes to defraud or conspiracies to commit illegal action are marked

   by subterfuge, shell-games, and attempts by fraudsters to hide their identities and keep their

   names and reputations separate from their fraud. Frauds are not run like legitimate businesses



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   with long-term capital investments and deep roots put down with the intention they will be a

   going concern. Mr. DeMonico and Mr. Maxwell’s actions in selling FRT-15s are consistent with

   men who believed they were selling a legal product as part of a legitimate business rather than

   engaging in a fraud for which they might need to pull up the stakes to make a quick get-away.

           Attached is a declaration from Mr. DeMonico attesting to his and Mr. Maxwell’s

   significant work and investment to get their business established. See Declaration of Lawrence

   DeMonico (attached as Exhibit I). This included investing large amounts of money in obtaining

   the FRT-15 patent, developing it to a market-ready product, developing new technologies and

   product designs for the FRT-15 and additional forced reset triggers, and defending their product

   patent against infringers. Exhibit I ¶ 5. Regardless of whether the FRT-15 is ultimately

   determined to be a machinegun, it is uncharacteristic of a fraud scheme knowingly selling illegal

   goods for the fraudster to invest significant resources in a patent for a product he knows to be

   illegal. In addition to the investments in the product, both Mr. DeMonico and Mr. Maxwell

   personally promoted the FRT-15 and associated their names, faces, and reputations with the FRT-

   15 in the public square. Id. ¶¶ 8-10. Contrary to the cloak and dagger of a fraud scheme, both Mr.

   DeMonico and Mr. Maxwell tied their fates to the FRT-15 personally and professionally in public

   as much as they could. They approached the FRT-15 thoughtfully, relying on experts, technical

   and legal, and the current state of the law. Id. ¶¶ 6-7.

           The Government’s claims that Defendants intended to prevent the ATF or any other

   government officials from doing their jobs is false. Id. ¶ 16. Mr. DeMonico did not take property

   subject to a warrant when retrieving Rare Breed Triggers’ materials from 3rd Gen. Machine, Inc.

   Id. ¶ 17. The items in question were not at 3rd Gen when the ATF executed its warrant but were

   later brought there after the warrant was executed. Id. Indeed, the warrant was dated and issued



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   March 24, 2022, and required the execution of the warrant “on or before April 7, 2022.” March

   24, 2022, Warrant (attached as Exhibit K). Apparently, the materials the Government identified

   in paragraph 156 of the Complaint (ECF No. 1) were not at 3rd Gen when the ATF “executed the

   warrant [o]n March [26,] 2022,” (ECF No. 1 ¶ 151), and Mr. DeMonico did not travel to pick up

   the materials until April 14, 2022, well after the warrant expired (ECF No. 1 ¶ 153). Exhibit I ¶

   17.

          When Mr. DeMonico went to pick up Rare Breed Triggers’ property and was pulled over

   by ATF agents and other law enforcement thereafter, he was told by ATF agents while in

   handcuffs that they were not authorized to arrest him and that they were only there to take the

   property. Id. ¶ 18. Apparently, even after the ATF learned there were additional FRT-15s in the

   unsecured parking lot at 3rd Gen, they let them sit there for weeks. Id ¶ 17.

          In addition, the ATF did not comply with its own seizure procedures: it did not properly

   notice Rare Breed Triggers of the property seizure or bring a claim for that seized property. Id. ¶

   19. The ATF only started to comply with these procedures after Rare Breed Triggers sued them

   for not doing their job properly. Id.

          To create an atmosphere of illegality, the Government concocts wild accusations out of

   thin air. At no point did Kevin Maxwell threaten the ATF with a rocket launcher. See Declaration

   of Kevin Maxwell ¶ 2 (attached as Exhibit K). Moreover, it strains credulity for the Government

   to suggest that he (or someone associated with his office) did and the ATF took no further action

   on the “threat.”

          Regarding the controversy over the FRT-15’s legal status, Mr. DeMonico and Mr.

   Maxwell did not run from it or attempt to hide it. They embraced it. They did countless

   interviews and videos explaining their position that the FRT-15 is legal. Exhibit I ¶¶ 8-11. Far



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   from failing to publicly address the ATF’s claims that the FRT-15 is illegal, they were at the

   forefront of pushing back against the ATF’s actions and explaining to the public why they

   believed the ATF to be wrong. Id. Consistent with their actions in this litigation, Defendants

   sought to protect customer privacy, which included shipping some USPS packages labeled as

   Red Beard Treasures. Id. ¶ 12. In addition, before this time period, Defendants used UPS, which

   Defendants understood to be more secure and on which Defendants had insurance, and did not

   use Red Beard Treasures. Id. Instead of trying to run away with the loot once their “scheme” was

   uncovered by the ATF, Mr. DeMonico and Mr. Maxwell stood and fought for the legality of their

   business. They initiated two different lawsuits seeking a declaration that the FRT-15 is legal. Id. ¶

   15. They boldly took the initiative to litigate the issue, putting large sums of money on the line,

   opening themselves and their business up to the expansive sweep of civil discovery, and risking a

   potentially unfavorable court ruling because they were confident in their belief that the FRT-15 is

   legal. Id. Contrary to the Government’s assertions, they did not abandon these lawsuits: one was

   dismissed on procedural grounds and the other in response to a venue motion filed by the ATF.

   Id.

                This consistent pattern of conduct over multiple years demonstrates that Defendants

   genuinely believed that the FRT-15 was legal and they were investing extraordinary effort and

   capital in a legitimate business they intended to run for years to come.

         III.      There is No Irreparable Harm from Allowing FRT-15s to Be Sold

                The Government argues that irreparable harm will result if a preliminary injunction is not

   issued because of the inherent danger posed to the public by the FRT-15. The Government claims

   that the “general public faces ‘imminent risk to their health safety, and lives” (ECF No. 56 at 3)

   from Defendants’ sales “of illegal and dangerous machinegun conversion devices at a time when



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   gun violence remains a nationwide epidemic” (ECF No. 56 at 4). The Government supports its

   notion that the FRT-15 is a danger to the public by citing statistics showing that there have been

   150 mass shootings across the United States since the Complaint was filed and that the 2021 U.S.

   gun death rate was the highest in nearly three decades. Id. at 1, 4.

          This argument is specious and meritless because the Government fails to note any crime

   committed with an FRT-15. These citations to general gun violence statistics are the only

   evidence of harm the Government presents. Because the Government is incapable of showing

   any harm actually caused by an FRT-15, it instead invokes the bogeyman of general gun crime

   without establishing any connection to the FRT-15. This is akin to the Government arguing that

   irreparable harm exists from allowing a given car model on the road, not because the model has

   caused any harm or been involved in any crashes, but because car crashes exist generally.

          Likewise, the Government demonstrates no connection between the FRT-15’s sales,

   which the Government noted already exceeded 80,000 units (ECF No. 1 ¶ 112), and any harm

   suffered by a single person. It is telling that the Government cannot cite a single instance of harm

   or crime involving an FRT-15 despite the supposedly immediate threat it represents to the public.

          Every shooting the Government references in its reply as examples of the threat to public

   safety—i.e., a irreparable harm—would still be possible even if a preliminary injunction was

   issued by this Court. As the Government cannot point to any harm caused by an FRT-15, and its

   arguments about gun crime relate only to firearms as a general category instead of the FRT-15

   specifically, the Government has failed to demonstrate how Defendants’ continued sales of the

   FRT-15 would cause irreparable harm.




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      IV.      Conclusion

            For the foregoing reasons and those offered in Defendants’ opposition brief, the Court

   should deny the request for a preliminary injunction entirely.



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                                                         DHILLON LAW GROUP INC.
                                                         A CALIFORNIA PROFESSIONAL CORPORATION


                                                         /s/ Josiah Contarino
                                                         JOSIAH CONTARINO
                                                         50 Park Place, Suite 1105
                                                         Newark, NJ 07102
                                                         jcontarino@dhillonlaw.com

                                                         DAVID A. WARRINGTON
                                                         (pro hac vice)
                                                         2121 Eisenhower Avenue
                                                         Suite 608
                                                         Alexandria, VA 22314
                                                         dwarrington@dhillonlaw.com

                                                         MICHAEL A. COLUMBO
                                                         (E.D.N.Y. application forthcoming)
                                                         177 Post St., Suite 700
                                                         San Francisco, CA 94108
                                                         415.433.1700
                                                         mcolumbo@dhillonlaw.com

                                                         Attorneys for Defendants




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